                                                             cMsg = app.response(cAsk);
                                                                event.value = cMsg;
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                                                                    DEFENDANT'S
                                                                      EXHIBIT

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